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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS




Morales,
                 Plaintiff(s),
                                                   CIVIL ACTION
              V.
                                                   NO. 14-40017-TSH

City of Worcester,
             Defendant(s),


                           SETTLEMENT ORDER OF DISMISSAL


Hillman, D. J.


      The Court having been advised on       August 10, 2015

that the above-entitled action has been settled;

      IT IS ORDERED that this action is hereby dismissed without costs and

without prejudice to the right of any party, upon good cause shown, to reopen the

action within sixty (60) days if settlement is not consummated.



                                                   By the Court,


  August 12, 2015                                  /s/ Martin Castles
    Date                                           Deputy Clerk
